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BP’S INITIAL PROPOSAL REGARDING CLAIM NO. 88168
BP Exploration & Production Inc. (“BP”) respectfully submits this Memorandum in
Support of its Final Proposal with regard to the appeal of Claim No. 88168 (Claimant 7
WE. Claimant in this appeal is ae
i approximately 90 miles from the Gulf of Mexico. The Settlement
Program awarded Claimant ar: pre-RTP lost profits, and a total award of

SQ, However, in 2010, the Claimant eamed Re: revenue, which is more than

in any previous year for which it submitted financial data.

It is unclear on what basis aT company can assert a spill-
related loss, a necessary prerequisite to class membership and recovery.

Claimant executed a Registration Form and a Claims Form, both under penalties of
perjury, seeking recovery for Business Economic Losses “arising from” or “due to the Spill.”
See Registration Form at 1, attached hereto as Exhibit 1; Claim Form at 1, attached hereto as
Exhibit 2. See also, Registration Form at 9 (explaining that the Business Economic Loss Claim
Form is to be completed by “businesses [...] that assert economic loss due to the Spill) (emphasis
added). There is no indication in the record as to on what possible basis ip

4 have any losses associated with the Spill. Class membership and
the right to recover are limited to those who had a loss due to the spill. See Settlement
Agreement Sec. 1.3.1.2 (defining the Economic Damage Category to include “[l]oss of income,

earnings or profits suffered by Natural Persons or Entities as a result of the DEEPWATER

’ BP is aware of the Court's Order of March 5, 2013. BP respectfully disagrees with this decision
and continues to believe that the current implementation of the agreement by the Claims
Administrator is contrary to its terms, contrary to fundamental principles of economics and
accounting, and contrary to common sense. BP will pursue all available legal options (including

all rights of appeal) to challenge this decision and therefore files this brief based on its good-faith
belief that the Order is in error and should be reversed.
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HORIZON INCIDENT”) (emphasis added). If Claimant believes that there is evidence of a
basis for asserting a spill-related loss, BP is willing to evaluate such evidence. In the absence of
an objective basis to claim a spill-related loss, this claim is not permitted, and BP thus submits an

Initial Proposal of $0.
